469 F.2d 1406
    State of Louisiana ex rel. Sellersv.Henderson***
    No. 72-2069
    United States Court of Appeals, Fifth Circuit
    Aug. 22, 1972
    
      1
      M.D.La.
    
    
      
        *
         Local Rule 21 cases:  see N. L. R. B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
      
        **
         This pro se case summarily disposed of, pursuant to this Cour t's Local Rule 9(c)(2), appellant having failed to file a brief with in the time fixed by Rule 31, Federal Rules of Appellate Procedure , Kimbrough v. Beto, 5 Cir., 1969, 412 F.2d 981
      
    
    